
BY THE COURT.
In the sale of goods, where the possession is left unchanged, it is prima facie evidence of fraud. It lies on the claimant, under such sale, to do away this presumption, and if he *fail, the sale is esteemed fraudulent. There may also be fraud [360 in law, legally deduced from certain acts, even though both parties were strictly honest, and had no intention of fraud. The charge of the court below was against both these principles and the judgment must be reversed, with costs.
Whatever rule obtains in other states, the question is not an open one here, and we must be governed by our laws and practice. It has been frequently ruled in our courts, that possession by the vendor, after sale, furnished only prima facie evidence of fraud, which' might be rebutted.
